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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                         :
THE BANK OF NEW YORK MELLON
                                         :

      v.                                 :     Civil Action No. DKC 14-2914

                                         :
HOLLY G. ASHLEY, et al.
                                         :

                              MEMORANDUM OPINION

      Before proceeding with this action, the precise nature of

the claims, and the basis for this court’s jurisdiction, must be

clarified.       Plaintiff’s four count complaint does not recite a

basis for jurisdiction, in violation of Fed.R.Civ.P. 8 (a)(1).

The Civil Cover Sheet reflects that a United States government

defendant is the “Basis of Jurisdiction” and, where the form

calls for a citation to the civil statute under which suit is

filed,     the   words    “quiet     title,”    with   no   code   section,   are

written in.       (ECF No. 1-1).        The complaint contains claims for

(I)   declaratory        judgment,    (II)     equitable    subrogation,   (III)

quiet title, and (IV) breach of contract.                   No count refers to

any statute.

      After years of litigation, and seeming resolution of most,

if not all, of the issues generated by the property records and

various liens, the case appeared to be ready for final judgment.

In trying to prepare that judgment, the court raised the issue
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of subject matter jurisdiction sua sponte and issued an order

directing Plaintiff Bank of New York Mellon (“Plaintiff”) to

file     a    memorandum      supporting      the    court’s      exercise    of

jurisdiction.        (ECF No. 82).          Plaintiff filed a memorandum,

Defendant     the    United   States    Department    of   the    Treasury   and

Internal Revenue Services (collectively, the “United States”)

responded, and Plaintiff replied.             (ECF Nos. 83, 88, 93).         The

issue has been briefed, and the court now rules, no hearing

being deemed necessary.          Local Rule 105.6.         For the following

reasons, the case will be dismissed.

I.      Background

        This case was brought to determine the priority of liens on

the real property known as 2902 Matapeake Drive, Upper Marlboro,

Maryland (the “Property”).         Pursuant to a deed dated October 5,

1999, the Property was conveyed by recorded deed to Defendant

Holly    G.   Smith,    n/k/a   Holly    G.   Ashley.      (ECF    No.   57-3).

Pursuant to a recorded deed dated November 24, 2003, Mrs. Ashley

conveyed the Property to herself and Defendant Michael Ashley,

her husband, as tenants by the entirety.             (ECF No. 57-4).

        On December 22, 2004, Mr. and Mrs. Ashley refinanced their

mortgage on the Property using proceeds obtained from a loan

granted by WMC Mortgage in the amount of $400,000 (the “Prior

Loan”) in exchange for a deed of trust to the Property (the

“Prior DOT”).        (See ECF No. 63-2).        Both Mr. and Mrs. Ashley

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were signatories to the Prior Loan, which paid off an existing

$337,500.00         mortgage      lien;    both    Mr.   and   Mrs.   Ashley    were

identified as grantors on the Prior DOT; and both Mr. and Mrs.

Ashley executed the Prior DOT.                  The Prior DOT was recorded in

the land records of Prince George’s County on July 7, 2005.

(Id.).        On July 5, 2005, Mr. Ashley applied for and was granted

a refinance loan from WMC Mortgage in the amount of $475,000

(the “Subject Loan”).              (ECF No. 63-4).         The Subject Loan was

funded and a closing was conducted in the ordinary course of the

loan.         Disbursement of the proceeds went to pay off the Prior

DOT, in the amount of $405,450.06.                 (ECF No. 57-6).      Mr. Ashley

- but not Mrs. Ashley – was identified as a grantor on the

corresponding         deed   of    trust    (the   “Subject    DOT”),   which    Mr.

Ashley executed on July 14.                (ECF No. 63-3).       The Subject DOT

was recorded on December 21.               (Id. at 1).     BONY is the successor

in interest to WMC Mortgage and, accordingly, the current holder

of the Subject Loan and beneficiary of the Subject DOT.1                        (ECF

No. 43 ¶ 21).

        On June 5, 2007, Mr. and Mrs. Ashley together conveyed the

Property to the Ashley Family Trust by recorded deed (the “Trust

DOT”).        (ECF No. 57-10).        Under the terms of the Ashley Family

Trust, both Mr. Ashley and Mrs. Ashley held an undivided 50%

        1
       All references to BONY refer either to WMC Mortgage at the
relevant time or to Plaintiff BONY when it was the successor of
WMC Mortgage.
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interest in the Property.             (ECF No. 57-11, at 8-9).            On November

5, 2012, the United States filed Notices of Federal Tax Liens in

the   amount     of   $428,227.50,       noticed    on    October       11,    2012    and

assessed on December 12, 2011, as to Mr. and Mrs. Ashley.                             (ECF

No. 54-5).        Finally, on December 21, 2012, the Ashley Family

Trust conveyed the Property to Mr. Ashley by recorded quitclaim

deed.    (ECF No. 57-12).

        BONY filed this action requesting that the court determine

the priority of liens against the Property on September 12,

2014.     (ECF No. 1).          The operative amended complaint was filed

on October 29, 2015.               (ECF No. 43).          The six-count amended

complaint       asserts      claims   against     four    groups    of        interested

parties:        (1) Mr. and Mrs. Ashley; (2) CitiFinancial, Trustee

Nancy J. Liberto, and Trustee Betty Lou Crumrine (concerning a

now-discharged CitiFinancial deed of trust dated December 18,

2000 (the “CitiFinancial DOT”)); (3) the United States; and (4)

the     State    of   Maryland,       Comptroller    of     Maryland          (“Maryland

Comptroller”).        BONY seeks: declaratory relief determining that

it holds a first-priority lien on the Property (Count I); a

determination that it holds a first-priority lien by reason of

equitable       subrogation       (Count   II);     to    use    quiet        title     to

determine the owner of the Property and hold that the Subject

DOT   constitutes        a    valid   first-priority      lien   (Count        III);    to

obtain    a     decree       reforming   the    Subject    DOT     to    include       the

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signature of Mrs. Ashley (Count IV); to obtain a constructive

trust        in    its    favor    (Count      V);    and    to    obtain   an   equitable

mortgage against the Property as of July 13, 2005 (Count VI).

(ECF No. 43).

        The       Clerk    of     Court    entered      default     against      Defendants

CitiFinancial, Trustee Nancy J. Liberto, and Trustee Betty Lou

Crumrine          for    their    failure      to    plead   or    otherwise     defend    as

directed in the summonses and as provided by the Federal Rules

of   Civil        Procedure.            (ECF   Nos.   12;    14;    16).     Accordingly,

CitiFinancial             and     its     trustees     do    not     contest     that     the

CitiFinancial DOT has been paid and satisfied and that any error

in its release does not affect BONY’s interest.                             (See ECF Nos.

43 ¶ 4; 53, at 6).                 The court also previously granted a joint

motion establishing the priority of liens as to the Maryland

Comptroller, but ordered that the order of judgment would not be

entered until the entire case was resolved.                        (ECF No. 53).2


        2
       The State of Maryland issued state tax liens against Mr.
and Mrs. Ashley in the amounts of $127,711 and $19,942.       As
previously noted, there is a discrepancy concerning the dates on
which the state tax liens were issued. (ECF No. 53, at 7 n.2).
The Maryland Comptroller agrees with BONY that the Subject DOT
is senior to the state tax liens against Mr. Ashley, pursuant to
the doctrines of equitable subrogation and after-acquired
property, and that the state tax liens against Mrs. Ashley did
not attach to the Property because she had previously conveyed
away her interest at the time of their filing.     (See ECF No.
32).     The United States opposed the joint motion, but
represented that the Maryland Comptroller’s concession of lien
priority did not affect the lien priority of the United States.
(ECF No. 52, at 3).
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      Plaintiff previously filed a motion for consent judgment as

to Mr. and Mrs. Ashley (ECF No. 28), which the United States

opposed (ECF No. 31).            The consent motion, inter alia, would

have provided that the Subject DOT is equitably subrogated to

the position and priority of the Prior DOT and the CitiFinancial

DOT, and that Mr. and Mrs. Ashley intended for the Subject DOT

to be a first-priority deed of trust against the Property.                          (ECF

No. 28-1, at 2).           On March 14, 2016, the court denied the

consent   motion    without     prejudice     to     its    renewal      because     its

resolution    would      have   affected      the    priority       of   the       United

States’ tax liens.         Mr. and Mrs. Ashley answered the amended

complaint on June 23.            (ECF No. 72).         In their answer, they

request     that   the    court       enter   judgment       in   favor       of     BONY

establishing that the Subject DOT is the first-priority lien on

the property.       (Id.).      The United States answered the amended

complaint    on    December     21,    2015   (ECF    No.    47).        In    a    later

opinion, the court purported to resolve some of the additional

discrete issues.      (ECF No. 73).       In its motion for entry of final

judgment, BONY recites that the Ashleys and the Comptroller of

Maryland consent to the requested relief.                  (ECF No. 79).

II.   Standard of Review

                  Federal courts are courts of limited
             jurisdiction.  They possess only that power
             authorized by Constitution and statute,
             which is not to be expanded by judicial
             decree.   It is to be presumed that a cause

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             lies outside this limited jurisdiction, and
             the burden of establishing the contrary
             rests upon the party asserting jurisdiction.

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377

(1994)      (internal      citations           omitted).           Subject             matter

jurisdiction can be challenged for the reason that “a complaint

simply     fails    to    allege        facts    upon    which     subject             matter

jurisdiction can be based.              In that event, all the facts alleged

in the complaint are assumed to be true and the plaintiff, in

effect, is afforded the same procedural protection as he would

receive under a Rule 12(b)(6) consideration.”                          Adams v. Bain,

697 F.2d 1213, 1219 (4th Cir. 1982).                 In such a situation, the

complaint should be dismissed if it does not allege sufficient

facts to invoke subject matter jurisdiction.                       Kerns v. United

States, 585 F.3d 187, 193 (4th Cir. 2009).

III. Analysis

     The basis for Plaintiff’s assertion of federal jurisdiction

remains     unclear.      Initially       it    appeared     to   be       based       on   the

presence of a federal defendant. Now, however, Plaintiff may be

claiming federal question jurisdiction.3

     Subject matter jurisdiction over suits in which the United

States     is   a   defendant      is     outlined      in   28    U.S.C.          §    1346.

Subsection      1346(f)   provides        jurisdiction       for       a    quiet       title


     3
       There is no assertion of jurisdiction based on diversity
of citizenship.
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action brought pursuant to 28 U.S.C. § 2409a.                             But Plaintiff

does not assert a claim under § 2409a, invoking instead § 2410.

Thus, Plaintiff has not established jurisdiction based on the

presence of a federal defendant.

     Subject       matter    jurisdiction       based    on    the    presence       of   a

federal question, under 28 U.S.C. § 1331, applies to an action

arising under the Constitution, laws, or treaties of the United

States.      In    order    to     prove   subject      matter   jurisdiction         and

pursue this case, Plaintiff must show both a viable cause of

action and that the United States has waived sovereign immunity

for that action.          F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994);

United States v. Mitchell, 463 U.S. 206, 212 (1983).

     The statute on which Plaintiff relies is 28 U.S.C. § 2410.

28 U.S.C. § 2410(a)(1) states that “the United States may be

named a party in any civil action or suit in any district court

. . . (1) to quiet title to . . . any real or personal property

on which the United States has or claims a mortgage or other

lien.”     28 U.S.C. § 2410(a).                Pursuant to this statute, the

United States has waived its sovereign immunity for quiet title

actions, and a party can bring suit against it in an appropriate

action.           Plaintiff      initiated     this     suit   in    federal     court,

presumably asserting that it may bring a quiet title action

under    federal    law     even    though     it   identifies       no    federal    law

providing for such an action.              (An attempt to assert a Maryland

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quiet     title     action,     even     were    there     diversity          among    the

appropriate        parties,    would   fail     because    it     is    pellucid      that

under Maryland law, quiet title actions may only be brought by

parties in possession, either actual or constructive.                           Md. Code

Ann, Real Prop. § 14-108; Washington Mut. Bank v. Homan, 974 Md.

App. 372, 403-06 (2009).          Plaintiff has neither.)

        Assuming Plaintiff could bring an action under federal law

for quiet title, the question remains whether this action falls

within the scope of the waiver of sovereign immunity for quiet

title    actions.       Plaintiff      argues     that    the     waiver      should    be

broadly construed “to permit parties with an interest in real

property      to     resolve    disputes        concerning        the     priority      of

government tax liens.”           (ECF No. 93, at 6).              The United States

argues that a party cannot bring a quiet title action under 28

U.S.C.    §   2410(a)(1)       “unless    it     has     actual    or     constructive

possession of the property[.]”            (ECF No. 88, at 4).

        There is a dearth of authority applying and interpreting

that statute.         In 1960, the Supreme Court of the United States

resolved a pair of cases, one of which involved § 2410, to

answer     the     question     of     whether    a      federal        tax   lien     was

extinguished by state proceedings to which the United States was

not a party.        United States v. Brosnan, 363 U.S. 237 (1960).                      In

addressing that question, the Court observed:



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          Federal tax liens are wholly creatures of
          federal statute. Detailed provisions govern
          their creation, continuance, validity, and
          release.     Consequently, matters directly
          affecting the nature or operation of such
          liens are federal questions, regardless of
          whether   the    federal   statutory scheme
          specifically deals with them or not.

Brosnan, 363 U.S. at 240.        As noted, two separate suits were

before the Court in Brosnan, and one, no. 183, involved a suit

by a mortgagee against the Government under 28 U.S.C. § 2410 to

quiet title.   The proceedings were that:

          California real and personal properties,
          subject to a deed of trust and two chattel
          mortgages,  were   sold   by   the  trustee-
          mortgagee  pursuant   to   powers  of   sale
          contained in the respective instruments.
          The United States received no actual notice
          of the sale.     Thereafter, the mortgagee,
          which had bought in at the sale, brought
          this suit against the Government under 28
          U.S.C. § 2410, to quiet its title, claiming
          that the exercise of the powers of sale had
          effectively extinguished the federal tax
          lien.

The Court described § 2410 as follows:

          In   1931,  Congress  .   .  .   passed  the
          predecessor of 28 U.S.C. § 2410, which gives
          a private lienor the right to name the
          United States a party in any action or suit
          to foreclose a mortgage or lien or to quiet
          title to property on which the United States
          claims any kind of mortgage or lien, whether
          or not a tax lien.       The action can be
          brought in a state court, but is removable
          to a federal court.

Ultimately, the Supreme Court sent the case back to the lower

courts to determine the effect the non-judicial sale had on the

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junior tax liens.                 Obviously, the existence and priority of

federal       liens       are     questions           that       involve          the       interplay      of

federal and state law.                      There, though, the plaintiff was the

purchaser and was presumably in possession of the property.                                               The

situation here is different.

      Although           not    crystal         clear,          the    United      States       Court      of

Appeals       for    the       Fourth       Circuit         appears          to    have       ruled       that

possession is a prerequisite to bringing a federal quiet title

action.         In       Kasdon       v.    G.W.      Zierden          Landscaping,            Inc.,       541

F.Supp. 991, 992 (D.Md. 1982), the plaintiffs purchased real

properties at a tax sale conducted by county officials.                                                   The

plaintiffs brought suit against the United States, among other

defendants,          to    foreclose            all    equities          of       redemption.             The

plaintiffs argued that their action constituted an action for

quiet title for which the United States had waived sovereign

immunity.          The district court noted that “[u]sually, a plaintiff

bringing       a    quiet       title       action         must       have    possession           of     the

property      which       is    the        subject         of    the    action.”             Id.   at     994

(citing 74 C.J.S., Quieting Title § 27 (1951)).                                         “[I]n the face

of   near-unanimous             judicial         authority            requiring         a    quiet    title

action     to       be    brought          by    a     plaintiff-in-possession,                      it    is

unlikely that the Congress intended, when it passed § 2410, to

permit    a     quiet      title       action         by    a     plaintiff        who       was   not      in

possession,         actual       or    constructive.”                   Id.        Accordingly,            the

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court determined that the plaintiffs could not bring a quiet

title action as contemplated under 28 U.S.C. § 2410(a)(1).                        Id.

at 994-95.

     The Fourth Circuit affirmed the district court.                     It stated:

             The [district] court concluded that Congress
             could not have intended to include the
             involved type of action within the meaning
             of quiet title action in § 2410(a)(1)
             principally because the plaintiffs did not
             have actual or constructive possession of
             the properties. . . .     We agree with the
             conclusion reached by the district court.

Kasdon v. United States, 707 F.2d 820, 823 (4th                      Cir. 1983).

Thus, the law of this circuit requires a person bringing a quiet

title     action   be    in    possession       of   the    property.       Because

Plaintiff does not allege to be in possession, it may not bring

a quiet title action and that claim must be dismissed.

     Even if, as Plaintiff contends, the Fourth Circuit had not

already    decided      this   issue,     the   term   “quiet    title”     is   best

interpreted to require a plaintiff to be in possession of a

property to institute an action.                “It is a settled principle of

interpretation that, absent other indication, Congress intends

to incorporate the well-settled meaning of the common-law terms

it uses.”       Sekhar v. United States, 570 U.S. 729, 732 (2013)

(internal quotation marks omitted).                  Here, Plaintiff points to

no   indication      that      Congress    intended        to   depart    from    the

established practice for a quiet title action.                     Indeed, “[t]he


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quiet     title     provision       was    inserted        by    amendment        to     the

predecessor statute, following a recommendation by the Attorney

General     of    the     United        States     (future      Justice         Jackson).”

Progressive Consumers Fed. Credit Union v. United States, 79

F.3d 1228, 1231-32 (1st Cir. 1996).                 This amendment incorporated

terms of art from the law of property, “[a]nd where Congress

borrows     terms    of    art     in     which    are     accumulated      the        legal

tradition and meaning of centuries of practice, it presumably

knows and adopts the cluster of ideas that were attached to each

borrowed     word    in    the    body     of     learning      from    which     it     was

taken[.]”     Morissette v. United States, 342 U.S. 246, 250 (1952)

(Jackson,     J.).        Not    only    does     the   statute    lack     a    contrary

indication, but the presumption that a term receives its common

law     definition      would     seem     particularly         justified       when     the

enactment was done at the behest of the then-Attorney General

and a future Supreme Court Justice.                       Moreover, Congress would

have been aware of the requirements for a quiet title action

under federal common law.               In using a term with an established

meaning in federal and state common law, Congress intended to

incorporate that meaning.

        Generally,      “[a]     common-law       quiet    title       action    requires

proof that the plaintiff is in possession, while an ejectment

action requires proof that the complainant is illegally being

kept from possession[.]”                65 Am. Jur. 2d Quieting Title § 2

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(2018).     Under federal common law, a quiet title suit required a

person be in possession of property to bring a suit to quiet

title,      Twist v. Prairie Oil & Gas Co., 274 U.S. 684, 692

(1927),4 whereas an ejectment action could be brought by a person

out of possession to determine their interest in the property.

United States v. Wilson, 118 U.S. 86, 89 (1886).                  Congress only

allowed for actions for “quiet title” where “[t]he plaintiff

must aver . . . possession[.]”                74 C.J.S., Quieting Title § 71

(2018).     Congress did not allow for ejectment actions.                Because

Congress chose to waive sovereign immunity only as to actions in

quiet     title    and   not   as   to    ejectment     actions    and   because

Plaintiff is not in possession of the property as required for a

quiet title suit pursuant to 28 U.S.C. § 2410(a)(1), there is no

federal cause of action and thus no subject matter jurisdiction

over Plaintiff’s claim.

     Plaintiff presents a litany of other arguments to avoid

this conclusion.         Plaintiff first argues that the legislative

intent    and     purpose   weigh   in   favor    of   broadly    construing   28

U.S.C. § 2410(a)(1).           (ECF No. 93, at 2-3, 12-13).              Even if

true, “[a] waiver of sovereign immunity cannot be implied but

must be unequivocally expressed.”                Irwin v. Dep’t of Veterans


     4
       Federal courts did recognize exceptions, such as waiver,
to the requirement that a person be in possession because these
exceptions did not go “to the power of the court as a federal
court, but to the merits.” Twist, 274 U.S. at 692.
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Affairs,     498    U.S.     89,   95    (1990)    (internal       quotation            marks

omitted).          Plaintiff’s     arguments       to    expand        the    waiver      of

sovereign immunity based on legislative history and policy lack

force    because     “the    Government’s        consent    to    be    sued       must    be

construed strictly in favor of the sovereign, and not enlarged

beyond what the language requires[.]”                   United States v. Nordic

Vill.,     Inc.,     503    U.S.   30,    33     (1992)     (internal         citations,

quotation marks, and alterations omitted).

        Plaintiff    next     argues     that     courts       outside       the    Fourth

Circuit    have     allowed    quiet     title    actions      against       the    United

States from persons not in possession.                     (ECF No. 93, at 3-7).

The Fourth Circuit has already decided that a quiet title action

requires a person be in possession, Kasdon, 707 F.2d at 823,

and, even if it had not, Plaintiff’s citations to out-of-circuit

authority that afford a “broad construction” to a waiver of

sovereign immunity are unpersuasive.                    Progressive, 29 F.3d at

1233.

        Plaintiff    also     asserts    that    the    United     States      has      been

inconsistent        in     asserting     its     sovereign       immunity      and        its

“position     is     therefore      untenable.”         (ECF     No.     93,       at     7).

Regardless of the United States’ litigation conduct, “no action

of the parties can confer subject-matter jurisdiction upon a

federal court.” Ins. Corp. of Ireland, Ltd. v. Compagnie des

Bauxites de Guinee, 456 U.S. 694, 702 (1982).

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       Plaintiff lastly asserts that under Maryland law, equitable

subrogation should be treated the same as a quiet title.                     (ECF

No. 93, at 9).           As explained supra, jurisdiction is claimed

based on the presence of a federal question, not diversity, and,

therefore, how Maryland treats an equitable subrogation claim is

irrelevant.        The question is whether Plaintiff’s action meets

the federal definition for a quiet title action which it does

not.    Without a federal question on which to base jurisdiction,

the    court   cannot    exercise   supplemental     jurisdiction     over   any

other claim.

       In sum, Plaintiff Bank of New York Mellon has failed to

plead facts which establish its cause of action falls within the

waiver of sovereign immunity for quiet title actions pursuant to

28    U.S.C.   §    2410(a)(1),     and,    therefore,   the   case   will    be

dismissed for lack of jurisdiction.               As Plaintiff is out-of-

possession,        no   amendment    could    cure   the   dismissal,        and,

therefore, the case is dismissed with prejudice.

IV.    Conclusion

       For the foregoing reasons, the case will be dismissed.                  A

separate order will follow.



                                                       /s/
                                             DEBORAH K. CHASANOW
                                             United States District Judge




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